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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA

 TERESA CLIFTON GOLDEN AND     *                               CIVIL ACTION NO.:
 BRIAN GOLDEN                  *                               3:13-cv-547-JWD-SCR
                               *
 VERSUS                        *                               JUDGE: JOHN W. DEGRAVELLES
                               *
 COLUMBIA CASUALTY COMPANY, ET *                               MAG. JUDGE: STEPHEN RIEDLINGER
 AL.


                            MEMORANDUM IN SUPPORT OF
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

        The Goldens filed this suit because Livingston Parish Sheriff’s deputy Brandon Johnson

arrested, threw to the floor, and handcuffed, Teresa Golden inside her own home. Teresa was not

wanted or suspected of any crime nor had she committed any crime when Johnson brutalized her.

The facts material to this motion are established by Johnson’s own deposition testimony.1

I.      Johnson’s own testimony establishes his liability.

        The events giving rise to the suit began on the night of June 4, 2013, while Teresa and

Brian Golden were asleep in bed at their home in Walker, Louisiana. Brian was awakened by a

heavy knock on the front door followed by pounding on the back door. At the door were Johnson

and Deputy Steven Erdey. The deputies were there solely to check on Teresa’s welfare. 2 At the

time, Johnson was a uniform patrol deputy. Soon after the events in suit, the sheriff transferred

him to work in the jail.3



1 Relevant portions of the transcript of the April 29, 2014 Deposition of Brandon Johnson are annexed hereto as
EXHIBIT A.
2 EXHIBIT A, p. 24, lines 1-3.
3 Id., p. 5, line 24 – p. 6, line 22.

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         The deputies’ welfare check on Teresa was prompted by a phone call from Teresa’s sister,

Deanna Amalio, who called from Michigan to report that Teresa might be suicidal. 4 Once

Johnson entered the Golden home, he confirmed that Teresa was not committing suicide but was

asleep in the bedroom.5 Johnson left Erdey in the bedroom with Teresa and went outside to call

Amalio.6 Johnson reached Amalio by telephone and asked her about a conversation she had had

with Teresa earlier that day.7 After speaking to Amalio, Johnson went back inside.8

         When Johnson reentered the home, Teresa was in the kitchen along with Brian and Deputy

Erdey.9 Johnson then asked Teresa about a conversation she had with Amalio earlier that day.10.

Teresa responded that her sister was crazy and was dying of breast cancer.11 Teresa then became

angry.12

         While everyone was in the kitchen, Teresa made a phone call. At some point, Johnson

told Teresa to get off the phone.13 Johnson did not want Teresa to talk on the phone in case she

was assembling “a posse with guns to come over [.]”14 According to Johnson, he did not know to

whom Teresa was talking but, regardless, he does not allow people to make phone calls in his

presence.15 Johnson testified that he is not aware that a person has a right to call a lawyer when

the police come to the person’s house for a welfare check.16 Johnson does not know whether


4 Id., p. 39, line 15 – p. 40, line 13.
5 Id., p. 37, lines 22-24; p. 39, lines 10-14.
6 Id., p. 37, line 24 – p. 38, line 2.
7 Id., p. 39, line 15 – p. 40, line 13.
8 Id., p. 42, lines 15-18.
9 Id., p. 42, lines 19-21; p. 93, lines 15-22.
10 Id., p. 94, line 18 – p. 95, line 14.
11 Id., p. 93, lines23 – p. 94, line 2.16, lines 17-19.
12 Id., p. 95, lines 15-16.
13 Id., p. 42, line 19 – p. 43, line 1.
14 Id., p. 43, lines 7-19.
15 Id., p. 43, line 24 – p. 44, line 1.
16 Id., p. 46, lines 9-24.

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Teresa had a right to have counsel present or to call an attorney, or whether she was attempting to

secure counsel, a fact she will testify at trial.17 Nevertheless, Johnson testified that a person only

has a right to counsel in a criminal proceeding and that “You have the right to an attorney if

you’re being questioned in regards to where there can be a seizure of your person. But that

wasn’t the case here; so I don’t see why there would be a legal right to counsel if there wasn’t any

criminal charges being pursued.”18

          Notwithstanding Johnson’s testimony that Teresa had no right to call a lawyer because she

could not be seized, Johnson then began to seize Teresa’s person and handcuff her.19 Johnson did

so because he could see a beer bottle and metal tea kettle in the kitchen and because he assumed

that the Goldens, like everyone else, have cutlery somewhere in their kitchen.20 That is, because

Teresa was standing in her kitchen where there were potential weapons that she could potentially

use to potentially harm people, Johnson decided to handcuff her.21 Teresa was irate but never

threatened anyone with physical violence.22 Nevertheless, Johnson decided to handcuff Teresa

because he “was not comfortable with the way things were going.”23 According to Johnson, “if

she would have turned to any type of aggravated battery, that becomes a deadly force

encounter.”24 That is, if Teresa grabbed a potential weapon in her kitchen and if she turned it on

someone else, Johnson would have used deadly force and killed her. Despite the supposed

potential of “a deadly force encounter,” neither Johnson nor Erdey bothered to suggest that Teresa


17   Id., p. 47, lines 1-.25.
18   Id., p. 46, lines 17-24 (emphasis added).
19   Id., p. 97, line 24 – p. 98, line 14.
20   Id., p. 96, line 16 – p. 97, line 10.
21   Id., p. 98, lines 6-14;
22   Id., p. 99, lines 2-9.
23   Id., p. 99, lines 14-15.
24   Id., p. 99, lines 20-22 (emphasis added).

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move from the kitchen to another room.25

          In any event, Johnson told Teresa that she was not under arrest but that he was going to

handcuff her anyway for everyone’s safety.26 According to Johnson, Teresa then pulled away and

screamed an obscenity. 27 Johnson then walked behind Teresa to put one handcuff on her.28

Johnson testified that when he did so, Teresa pulled her hand away.29 Johnson then “pulled her

hand back down and executed a straight arm bar takedown.”30

          A straight arm bar takedown is a “pressure point control tactic” in which the policeman

puts someone in a prone handcuffing position by force.31 Johnson thus forced Teresa down on the

floor with her arms behind her and his knee in her back.32 According to Johnson, when Teresa

refused to yield her left arm, Erdey stepped in, grabbed Teresa’s left arm and handcuffed it. 33 It is

undisputed that Teresa’s head hit a wall in the kitchen while Johnson was in the process of seizing

and handcuffing her.34

          Johnson admitted that he did not have the ability to determine whether Teresa was in fact

suicidal but that the coroner would have to make that determination.35 Johnson also testified that

he forced Teresa to the ground and handcuffed her because Teresa “wasn’t understanding of her

sister’s illness” and was screaming and hollering at people rather than calmly explaining that her

sister had cancer, was on medication, and that there were problems with her sister


25   Id., p. 112, lines 19-24.
26   Id., p. 113, lines 7-17.
27   Id., p. 112, line 25 – p. 113, line 6; p. 116, lines 6-17.
28   Id., p. 115, lines 15 – 16.
29   Id., p. 116, lines 16-17.
30   Id., p. 116, lines 17-18.
31   Id., p. 113, lines 7-17.
32   Id., p. 117, line 21 – p. 119, line 2.
33   Id., p. 119, lines 5 – 7.
34   Id., p. 120, lines 7-10.
35   Id., p. 128, lines 6-25.

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misunderstanding things in the past.36 The coroner ultimately arrived, examined Teresa, and

informed Johnson that Teresa was not in fact suicidal.37

           After the coroner determined that Teresa was not suicidal, Johnson informed Teresa that

she was under arrest.38 Johnson testified that Teresa was not arrested until the moment he told her

she was under arrest and then advised her of her rights per Miranda.39 Although the DA refused

all charges, Johnson claimed that Teresa was guilty of resisting an officer for pulling away from

him when he tried to handcuff her and of battery of a police officer for supposedly kicking him

while she was face-down on the floor.40

II.        Johnson’s conduct was unreasonable and unlawful as a matter of clear and well
           established law.

           The Fourth Amendment to the United States Constitution provides:

                   The right of the people to be secure in their persons, houses, papers and
           effects, against unreasonable searches and seizures, shall not be violated, and no
           Warrant shall issue, but upon probable cause, supported by Oath or affirmation, and
           particularly describing the place to be searched, and the persons or things to be
           seized.

           Similarly, Article I, Section 5 of the Louisiana Constitution provides:

                   Every person shall be secure in his person, property, communications,
           houses, papers, and effects against unreasonable searches, seizures, or invasions of
           privacy. No warrant shall issue without probable cause supported by oath or
           affirmation, and particularly describing the place to be searched, the persons or
           things to be seized, and the lawful purpose or reason for the search. Any person
           adversely affected by a search or seizure conducted in violation of this Section shall
           have standing to raise its illegality in the appropriate court.




36    Id., p. 129, line 11 – p. 130, line 20.
37    Id., p. 135, lines 14 – p. 136, line 15.
38    Id., p. 135, line 16 – p. 138, line 4.
39    Id., p. 137, line 5 – p. 138, line 7.
40    Id., p. 138, line 8 – p. 140, line 14.

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         In this case, Johnson and Erdey did not have an arrest warrant, a search warrant, a

commitment order, or any other legal process authorizing them to search or seize Teresa. 41 Their

only justification for going to the Golden home in the first place was to check on Teresa’s welfare

in case she was suicidal and needed medical help. Even then, an adult has a right to refuse any

medical treatment. La. R.S. 40:1299.56 (“Nothing contained herein shall be construed to abridge

any right of a person eighteen years of age or over to refuse to consent to medical or surgical

treatment as to his own person.”) Further, free citizens in this country have a long-recognized

constitutionally protected liberty interest in refusing unwanted medical treatment. Cruzan v.

Director Missouri Department of Health, 497 U.S. 261 (1990). Even a convict may not be

subjected to psychiatric treatment against his will without constitutionally guaranteed due process.

Vitek v. Jones, 445 U.S. 480 (1980).

         Thus, Johnson went to Teresa’s home to offer her help that she had a legal right to refuse.

Nevertheless, Teresa never even had the opportunity to refuse medical treatment but simply did

not immediately submit to being handcuffed in her own home, in the middle of the night, by an

armed deputy, who was wholly unqualified to determine whether Teresa required any medical

treatment in the first place. The only medical treatment Teresa ultimately required was for the

injuries Johnson caused her Teresa by attacking her without any legal justification

         A.        False arrest, false imprisonment, and unlawful seizure

         “Arrest is the taking of one person into custody by another.” La. Code Cr. Pro. art.

201. “To constitute arrest there must be an actual restraint of the person. The restraint may be

imposed by force or may result from the submission of the person arrested to the custody of the one


41 Id., p. 23, lines 17-25.

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arresting him.” Id.

         An arrest is also a Fourth Amendment seizure.        “Whenever an officer restrains the

freedom of a person to walk away, he has seized that person.” Tennessee v. Garner, 471 U.S. 1, 7

(1985), citing United States v. Brignoni-Ponce, 422 U.S. 873, 878 (1975). In United States v.

Mendenhall, 446 U.S. 544, 554, (1980), the Supreme Court stated that "any assessment as to

whether police conduct amounts to a seizure implicating the Fourth Amendment must take into

account all of the circumstances surrounding the incident in each individual case." The

Mendenhall Court also stated that in determining whether a person has been seized under the

Fourth Amendment, one must determine whether a reasonable person would have believed he

was free to leave. Mendenhall, 446 U.S. at 554. The Louisiana Supreme Court has also

considered this issue and determined that "it is the circumstances indicating intent to effect an

extended restraint on the liberty of the accused, rather than the precise timing of an officer's

statements: 'You are under arrest,' that are determinative of when an arrest is actually

made." State v. Giovanni, 375 So.2d 1360, 1363 (La.1979) (quoting State v. Sherer, 354 So.2d

1038, 1042 (La.1978)); see also State v. Simms, 571 So.2d 145, 148 (La.1990). Accordingly, a

person who is not free to leave has been arrested as a matter of law.

         In this case, Johnson testified that Teresa “was not free to go” while he was in her home

ascertaining the facts of the case.42 Johnson also testified that handcuffing Teresa was not the

same as arresting her, and that Teresa was not arrested when he handcuffed her. 43 Further,

Johnson testified that Teresa was never free to leave her house at any time after Johnson arrived:



42 Id., p. 34, lines 21-25.
43 Id., p. 106.

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         Q.       Was Teresa free to leave her house --

         A.       No, she was not.

         Q.       -- when she -- no?

         A.       No, sir.

         Q.       At no point after you came over was

                  she free to leave the house. Right?

         A.       No, sir.

         Q.       No, that's -- no, she was free --

         A.       No, sir, she was not free to leave the

                  house.44

         As a matter of law, therefore, Johnson arrested Teresa the instant he walked into her house

and she was no longer free to leave. Nevertheless, Johnson believes that Teresa was not arrested

because she was only “being detained.”

         Q.       And, in fact, she was under arrest the

                  moment she wasn't free to leave the house.

                  Right?

         A.       No.

         Q.       Why not?

         A.       Because she was being detained. It's

                  no different than a traffic stop.45



44 Id., p. 107, lines -11 (emphasis added).
45 Id., p. 114, lines 5-11.

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         Indeed, when asked “What’s the difference between a detention and an arrest?” Johnson

responded, “The detention is done while we gather facts of the case. An arrest is a seizure of

her person.”46 Johnson’s claim that an investigative detention “is when somebody is not under

arrest but they are not free to go” means that he does not know the most basic aspects of the law he

is sworn to uphold.47 But even seizing Teresa’s person, pulling her arm straight behind her and

forcing her face-first to the ground with his knee in her back was not an arrest according to Johnson

but merely an “investigative detention.”48 Well established law says otherwise.

         An investigatory detention is a “Terry stop” and it may not occur inside a private home.

While an arrest requires officers to have probable cause to believe that a suspect has committed a

crime, an investigatory stop requires a lesser standard of "reasonable suspicion." Terry v. Ohio,

392 U.S. 1 (1968). In Louisiana, the investigatory Terry stop is codified in La. Code Crim. Proc.

art. 215.1(A): "A law enforcement officer may stop a person in a public place whom he reasonably

suspects is committing, has committed, or is about to commit an offense and may demand of him

his name, address, and an explanation of his actions." Like an arrest, an investigatory stop entails a

complete restriction of movement, although for a shorter period of time. State v. Bailey, 410

So.2d 1123, 1125 (La.1982).

         In making a brief investigatory stop, the police "must have a particularized and objective

basis for suspecting the particular person stopped of criminal activity." State v. Kalie, 96-2650, p. 3

(La.9/19/97), 699 So.2d 879, 881 (quoting United States v. Cortez, 449 U.S. 411, 417-418 (1981)).

Specifically, article 215.1 requires that an officer point to specific and articulable facts to justify an


46 Id., p. 114, lines 12-21 (emphasis added).
47 Id., p. 27, lines 13-16.
48 Id., p. 27, lines 13-16.

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investigatory stop. State v. Huntley, 97-0965, p. 3 (La.3/13/98), 708 So.2d 1048, 1049.

                                          Pre-Crime is No Crime.

       In this case, Johnson did not stop Teresa in a public place but threw her to the ground and

handcuffed her on private property, inside her own home. Because Johnson did not stop Teresa in

a public place, his detention of her was unlawful on that basis alone.

         By his own admission, Johnson had no probable cause to arrest Teresa. Further, Johnson

did not reasonably suspect Teresa of a crime but knew that he required reasonable suspicion to

conduct even a true Terry stop:

         Q.        Okay. What do you need for an

                   investigative detention?

         A.        Reasonable suspicion.

         Q.        Reasonable suspicion of what?

         A.        Of -- of the -- of a possibility that

                   a crime has been committed or anything like

                   that. She was being detained for safety

                   purposes because I thought that she was going

                   to escalate things further into a physical

                   altercation.49

         Because Johnson seized Teresa’s person “for safety purposes” without any suspicion that

she was possibly involved in any particular criminal conduct, he had no lawful basis for detaining

Teresa at all; especially by violence and in her own home. Moreover, even a true Terry stop only


49 Id., p. 27, line 22 – p. 28, line 6.

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excuses the minimal physical contact entailed by a frisk for weapons.

         An officer's right to conduct a protective frisk is codified in La.Code Crim. Proc. art.

215.1(B), which provides that "[w]hen a law enforcement officer has stopped a person for

questioning pursuant to this Article and reasonably suspects that he is in danger, he may frisk the

outer clothing of such person for a dangerous weapon."              An officer is never justified in

conducting even a pat-down for weapons unless the original investigatory stop itself was justified,

and even a lawful detention for questioning does not automatically give the officer authority to

conduct a pat-down for weapons. State v. Hunter, 375 So.2d 99, 101 (La.1979). Even after a

lawful investigatory stop, a police officer may frisk the suspect only where a reasonably prudent

person would be warranted in the belief that his safety or that of others is in danger. La.Code Crim.

Proc. art. 215.1(B); Terry, 392 U.S. at 21. The reasonableness of a frisk is thus governed by an

objective standard. State v. Dumas, 00-0862, pp. 2-3 (La.5/04/01), 786 So.2d 80, 81.

          The officer's suspicion that he is in danger is not reasonable unless the officer can point to

particular facts which led him to believe that the individual was armed and dangerous.

Hunter, 375 So.2d at 101. The officer must establish a "substantial possibility" of danger. Id. at

102. In determining the lawfulness of an officer's frisk of a suspect, courts must give due weight,

not to an officer's "inchoate and unparticularized suspicion or `hunch,' but to the specific

reasonable inferences which he is entitled to draw from the facts in light of his experience." Terry,

392 U.S. at 21.

         In this case, Johnson thought that Teresa might commit a battery but conceded that his

thought “was not based on anything more than just a possibility.”50 Johnson testified that he could


50 Id., p. 28, line 19 – p. 29, line 2.

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have handcuffed Teresa in her bedroom – before she was anywhere near the kitchen cutlery –

because “[t]here could be a gun under the pillow.”51 Indeed, because anybody could have a gun

under the pillow, Johnson testified that it could be reasonable to handcuff anybody in his bedroom

under any circumstances.52

         Ultimately, the only justification Johnson provided for throwing Teresa to the floor and

handcuffing her is because she was in her kitchen, without any weapons but near ordinary

household items that she could have grabbed, could have used as weapons, and could have

attacked others with:

         A.        . . . I think that if she would have started

                   grabbing other things and used those in some

                   sort of attack, then that's when you start

                   getting towards things -- people getting hurt,

                   people getting severely hurt.

         Q.        And that was strictly hypothetical.

                   Right? That could have happened?

         A.        Yes, sir.53

         Thus, Johnson violently seized and restrained Teresa based on a strictly hypothetical

scenario which could just as easily apply to anybody. In fact, Johnson’s testimony makes clear

that he simply did not like Teresa’s tone and attitude. But just because a householder is gauche

enough not to extend a warm welcome when the police come in the night, unbidden, and in


51 Id., p. 105, lines 13-22.
52 Id., p. 105, line 21 – p. 106, line 9.
53 Id., p. 112, lines 11-18.

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response to a long distance call involving an unsubstantiated concern about something that is not

even a crime, she does not deserve to be arrested, brutalized, and hauled off to jail.

        “[T]he tort of false arrest or false imprisonment occurs when one arrest and restrains

another against his will and without statutory authority.” Bellanger v. Webre, 2010-0720 (La.

App. 1 Cir. 5/6/11), 65 So.3d 201, 209. There are thus two elements to the tort: (1) detention of

the person; and (2) unlawfulness of the detention. Id. To establish a federal claim for unlawful

detention, a plaintiff must show that: (1) a detention occurred; and (2) the detention was not based

on reasonable suspicion supported by articulable facts that criminal activity was occurring.

Coons v. Lain, No. 07–40819, 277 Fed. App'x 467, 470, 2008 WL 1983580 (5th Cir. May 8,

2008); citing Michigan v. Summers, 452 U.S. 692, 699 (1981); Terry v. Ohio, 392 U.S. 1, 30,

(1968). Both elements of both claims are satisfied in this case: Johnson detained Teresa and had

no right to do so. Johnson had no probable cause to believe that Teresa had committed a crime

and thus no justification to arrest her. Nor did Johnson have any reasonable suspicion as a matter

of fact or law, nor the ability to conduct a valid Terry stop inside the home as a matter of law.

Even if Johnson could perform a warrantless investigative detention inside the home, he would

only have been authorized to perform a pat-down for weapons – weapons he already knew were

not on Teresa’s person.

        Because Johnson had no right to arrest or detain Teresa in the first place, he had no right to

attack her for reasons stronger still. As a result, he is liable for battery and the unreasonable use of

excessive force.




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       B.      Battery and the unreasonable and excessive use of force

       Louisiana law defines battery as “[a] harmful or offensive contact with a person, resulting

from an act intended to cause the plaintiff to suffer such a contact.” Caudle v. Betts, 512 So.2d

389, 391 (La. 1987). A Louisiana law enforcement officer will be guilty of a battery if he engages

in an act intended to cause a person harmful or offensive contact unless the act in question involves

the officer’s use of reasonable force to restrain an arrestee. Ross v. Sheriff of Lafourche Parish,

479 So.2d 506, 511 (La. App. 1st Cir. 1985).

       In this case, Teresa committed no crime and was suspected of no crime. At the time he

battered Teresa, Johnson had no probable cause that she had committed any crime and had no

reasonable suspicion that Teresa or anyone else had committed any crime or was about to commit

a crime that was anything more than hypothetical. Nevertheless, Johnson claims that he had the

right to handcuff Teresa pending an investigation and had the right to use a straight arm bar

takedown to do so. He conceded that Teresa was never a “suspect” because she was never

suspected of any crime. Nor was she ever an “arrestee” except insofar as she was a victim of false

arrest. Johnson is liable for his excessive and unreasonable use of force as a matter of state law

and federal law.

       An excessive force claim under Section 1983 is “separate and distinct from” a claim for

unlawful arrest (or detention) and must, therefore, be analyzed without regard to whether the

arrest/detention was justified, although the evidence may overlap. Freeman v. Gore, 483 F.3d

404, 417 (5th Cir.2007); Cortez v. McCauley, 478 F.3d 1108, 1127 (10th Cir.2007). To prove a

claim for excessive force, a plaintiff “must show: (1) injury, (2) which resulted directly and only

from a use of force that was clearly excessive, and (3) the excessiveness of which was clearly


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unreasonable.” Elizondo v. Green, 671 F.3d 506, 510 (5th Cir.2012)(quoting Collier v.

Montgomery, 569 F.3d 214, 218 (5th Cir.2009)(internal quotation marks omitted)). Factors

integral to the analysis of reasonableness include: “(1) the extent of the injury suffered; (2) the

need for the application of force; (3) the relationship between the need and the amount of force

used; (4) the threat reasonably perceived by the responsible officials; and (5) any efforts made to

temper the severity of a forceful response.” Keele v. Leyva, No. 02–5104, 69 F. App'x 659, 2003

WL 21356063 at *1 (5th Cir. May 30, 2003)(citing Hudson v. McMillian, 503 U.S. 1, 6–7 (1992)).

                  1.       Johnson caused Teresa an injury

         The nature and extent of all Teresa’s physical and emotional injuries and damages are not

the subject of this motion. Nevertheless, even defendants concede that Teresa suffered an injury

as a result of Johnson’s use of force.54 Although defendants describe Teresa’s head wound as

“slight,” they admit it required medical attention.55 This head injury alone is more than sufficient

as a matter of law.

         It is well established that “[t]he injury must be more than a de minimus physical injury, but

need not be significant or serious.” Keele, 69 F. App'x 659 at *2, citing Gomez v. Chandler, 163

F.3d 921, 924 (5th Cir.1999). Further,the injury “‘must be evaluated in the context in which

the force was deployed.’” Namer v. Gentrey, 273 F.3d 392, 2001 WL 1013077 at *3 (5th

Cir.2001)(citing Glenn v. City of Tyler, 242 F.3d 307, 314 (5th Cir.2001))(emphasis added). The

Fifth Circuit has held that, in determining whether a Fourth Amendment injury is more than de

minimus, “a court must ‘look to the context in which that force was deployed[ ] ... [as] related to

the amount of force that is constitutionally permissible under the circumstances. What constitutes

54 Status Report, R. Doc. 10, p. 5.
55 Ibid.

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an injury in an excessive force claim is therefore subjective—it is defined entirely by the context in

which the injury arises.’” US v. Diaz, No. 11–51020, 498 F. App'x 407, 411, 2012 WL 5910944

(5th Cir. Nov. 27, 2012)(quoting US v. Brugman, 364 F.3d 613, 618 (5th Cir.2004)(internal

quotation marks and citation omitted). Moreover, “‘physical pain’ may, depending on the context

in which the injury arose, constitute ‘bodily injury’ sufficient to overcome the de minimus

threshold.” Id. 498 F. App'x at 412.

        In this case, it is undisputed that Teresa suffered at least “some injury” as a consequence of

Johnson’s use of force.       The Goldens will testify that Johnson deliberately pushed Teresa

head-first into a wall when he attempted to handcuff her. While Johnson claims this is a lie, he

admits that Teresa’s head hit a wall when he was trying to handcuff her.56 Johnson’s testimony

therefore confirms that Teresa suffered an injury as a result of his use of force.

                2.      Johnson’s use of force was clearly unreasonable.

         The reasonableness of Johnson’s use of force requires assessing the totality of the

circumstances, including “the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and whether he is actively resisting arrest or

attempting to evade arrest by flight.” Graham v. Connor, 490 U.S. 386, 396 (1989). None of

these factors justifies the use of any force in this case.

        There was no crime at issue in this case, much less a severe one. Teresa posed no threat to

the safety of the officers or others, much less an immediate threat. The only threat was “strictly

hypothetical” and existed only in Johnson’s mind (along with the potential of an armed posse at the

other end of Teresa’s telephone). Last, Teresa was not actively resisting arrest or attempting to


56 EXHIBIT A, p. 120, lines 1-20.

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evade arrest by flight. According to Johnson, throwing Teresa to the floor and handcuffing her

was not even an arrest. Moreover, Teresa was in her own home, not fleeing a crime scene.

Because Johnson’s conduct under these circumstances had no justification as a matter of fact or

law, the Goldens are entitled to summary judgment on these claims as a matter of law.

III.   The Goldens are entitled to judgment as a matter of law.

       The summary judgment procedure is designed “to secure the just, speedy, and inexpensive

determination of every action.” Celotex v. Catrett, 477 U.S. 317, 327 (1986). Accordingly, “[a]

party may move for summary judgment, identifying each claim or defense – or the part of each

claim or defense – on which summary judgment is sought. The court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a) (emphasis added).

       In this case, Johnson’s own deposition testimony establishes that he battered, falsely

arrested, and imprisoned Teresa in violation of Louisiana state law and clearly established rights

under the United States Constitution. The facts as described by Johnson himself are equally clear

and establish all the essential elements of the Goldens’ claims arising under federal law for

Johnson’s false arrest, unlawful seizure, and use of excessive and unreasonable force against

Teresa violating the Fourth Amendment, and with respect to the claims arising under Louisiana

state law for Johnson’s battery and false arrest/false imprisonment of Teresa. The Goldens are

therefore entitled to judgment as a matter of law. Accordingly, the Court should render partial

summary judgment in favor of plaintiffs and against defendant Johnson with respect to these

claims, reserving all other claims and issues for future motion practice or trial.




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                                     Respectfully submitted:

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                                        CERTIFICATE

       I hereby certify that a copy of the above and foregoing has been served upon all counsel of
record via U.S. Mail, postage prepaid and properly addressed, by hand, by electronic transmission
though the Court’s CM/ECF system, or by facsimile transmission, this 5th day of March 2015.

                                             s/ Kearney S. Loughlin




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